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 6                            UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
 8                                           ***
 9 UNITED STATES OF AMERICA,        )
                                     )
10                                   )
                    Plaintiff,       )             2:10-CR–00104-GMNLRL-2
11                                   )
   vs.                              )
12                                   )
   RONALD DUNMORE,                   )
13                                   )
              Defendant.             )             ORDER
14 _________________________________)
15              On September 24, 2010, the Court entered an order allowing Jonathan Powell
16 to withdraw as counsel for Ronald Dunmore.
17        IT IS HEREBY ORDERED that LANCE A. MANINGO, ESQ. is appointed in place
18 of Jonathan Powell to represent RONALD DUNMORE for all future proceedings.
19        Mr. Powell shall forward the file to Mr. Maningo forthwith.
20              DATED this     27th day of September, 2010.
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22                                                ____________________________________
                                                  UNITED STATES MAGISTRATE JUDGE
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